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           EXHIBIT 4
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 FP-20                                                       FP-20T
                                                          Product Code: 10620
                                                                                                               FP-20TH
                                                                                                            Product Code: 10649
                                                          Product Description:                              Product Description:
                                                          • FirePro Fire Extinguishing                      • FirePro Fire Extinguishing
                                                            Generator FP-20T                                  Generator FP-20TH
                                                          Features:                                         Features:
                                                          • UL, KIWA & BSI Certified                        • KIWA & BSI Certified




                                                          TECHNICAL INFORMATION
                                                           Model                                    FP-20T / FP-20TH
                                                           Activation method                        • Electrical (FP-20T)
                                                                                                    • Thermal (FP-20TH)
                                                           Weight (gross)                           310g (excluding bracket)
                                                           Mass of FPC compound                     20 g
                                                           Operational discharge time               5 - 10 seconds
                                                           Dimensions (Diameter : Height)           32 mm : 180 mm (incl. connector housing)
                                                           Fire class                               EN 2: A, B, C, F - NFPA 10: A, B, C




                                                          Generators are provided complete with brackets

A8                                Product Catalogue      Product Catalogue                                                                     A9
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 FP-100 EX                                                  FP-100 EX
                                                         Product Code: 11028
                                                         Product Description:
                                                         • FirePro Fire Extinguishing Generator FP-100 EX
                                                         Features:
                                                         • ATEX Certified
                                                          • II 1G Ex s IIC T3 Ga
                                                          • II 1D Ex s IIIC T2000C Da
                                                          • I M1 Ex s T4500C Ma




                                                         TECHNICAL INFORMATION
                                                          Model                                   FP-100 EX
                                                          Activation method                       Electrical
                                                          Weight (gross)                          1,830g (excluding bracket)
                                                          Mass of FPC compound                    100g
                                                          Operational discharge time              5 - 10 seconds
                                                          Dimensions (Diameter : Height)          84 mm : 170 mm (incl. connector housing)
                                                          Fire class                              EN 2: A, B, C, F




                                                         Generators are provided complete with brackets

A32                              Product Catalogue      Product Catalogue                                                                    A33
